{¶ 74} Although concurring in judgment regarding the disposition of the second assignment of error, I strenuously oppose the reasoning applied by the majority to appellant's arguments concerning more than minimum sentences. R.C. 2929.14(B) has been found unconstitutional and void by the Supreme Court of Ohio. We cannot utilize appellant's prior felony conviction, admitted in a sentencing hearing the procedures of which were, in part, unconstitutional, to uphold the more than the minimum sentence herein.
  {¶ 75} An unconstitutionally void sentence must be vacated in total. I find the majority's attempt to bootstrap into legality an inherently void more than minimum sentences through reference to appellant's prior felony conviction intellectually inconsistent.